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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



UNITED STATES OF AMERICA,                            :

                              Plaintiff,             :       Case No. 2:17-CR-00054-001

        vs.                                          :       JUDGE JAMES L. GRAHAM

ZA DARRICK JEROME BROOKS,                            :

                              Defendant.             :


                    DEFENDANT’S SENTENCING MEMORANDUM
                                    AND
              UNRESOLVED OBJECTIONS TO THE PRESENTENCE REPORT

        ZaDarrick Brooks, by and through undersigned counsel, hereby files his sentencing

memorandum and unresolved objections to the presentence report.

I.       Unresolved Objections to the Presentence Report.

        (A) Mr. Brooks objects to the application of a 16-level enhancement for an intended loss

amount of roughly $1.8 million. PSR ¶¶39, 48. Neither the presentence report nor the discovery

reflect an intended loss amount anywhere near this amount. Indeed, the loss reflected in

indictment and the complaint is approximately $1 million less than the calculation set forth in the

PSR. The plea agreement stated a loss amount of between $150,000 and $250,000. PSR ¶23.

The parties further agreed that this loss amount would generate a 10-level increase to the base

offense level of 7. PSR ¶23. That loss amount was supported by the discovery and was

reasonably foreseeable by Mr. Brooks. Mr. Brooks relied on the afore-mentioned agreements in

agreeing to plead guilty and subsequently entering his guilty plea.
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       The presentence report correctly states that “intended loss” means “reasonably

foreseeable pecuniary harm” resulting from the offense. But there are several problems with

attributing to Mr. Brooks the full amount of loss caused by others: (a) intended loss does not

include unforeseeable harm caused by others involved in the offense, and (b) to do so in this case

undercuts the agreement made between Mr. Brooks and the government.

       Thirteen people have been charged in this case. Mr. Brooks was charged and brought to

court for prosecution on February 13, 2017, and he was the first to plead guilty. Mr. Brooks had

no way of foreseeing what the others were doing when he was not present, or after he was

charged and dealing with his case. More importantly, the plea agreement agreed that to a base

offense level of 7, a 10-level increase for amount of loss (stated as between $150-250,000), a 2-

level increase for number of victims, and a 3-level reduction for acceptance of responsibility. If

Mr. Brooks is to receive the benefit of his bargain, as written into the Plea Agreement by the

government, he should be sentenced according to the agreements set forth in the Plea Agreement.

       (B) Mr. Brooks further objects to the application of a 4-level adjustment for role in

the offense. ¶¶52-53. In the plea agreement, the parties agreed that Mr. Brooks would receive a

2-level adjustment specifically under §2B1.1(b)(2)(A)(i), because there were more than 10

victims. That adjustment was applied in ¶49 of the report. The application of an additional 4-

level adjustment under §3B1.1(a) constitutes impermissible double counting.

       Although the presentence report asserts that Mr. Brooks organized the scheme (¶¶36-37);

the Report provides no facts to support that assertion. The report states that although he received

the largest monetary benefit, he neither sold postal keys to others nor recruited other participants.

Furthermore, the Plea Agreement reflects that the parties did not contemplate that Mr. Brooks

was in a leadership role. Indeed, the Factual Basis for the Plea Agreement consistently states
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that Mr. Brooks “and his co-conspirators” solicited other individuals to participate and to allow

use of their bank accounts. This statement puts Mr. Brooks on an equal footing with “his co-

conspirators.” As a result, the leadership role adjustment should not be applied.

         Based on the foregoing, Mr. Brooks’ total offense level should be 16, as opposed to 26,

resulting in an advisory guidelines range of 21-27 months of incarceration.

II.      SENTENCING LAW

      In Gall v. United States, 552 U.S. 38 (2007), the Supreme Court formally announced the

following two-step analysis that a district court should apply to determine a sentence that is

sufficient, but not greater than necessary, to vindicate Congress’ mandate that was codified for

sentencing:

      (1) a district court should begin all sentencing proceedings by correctly calculating the

      applicable guideline range. Id. at 49. The Court noted that the Guidelines are the starting

      point and the initial benchmark.” Id. Undoubtedly, part of this determination would also

      require the district court to assess the propriety of a departure from the otherwise applicable

      guideline range; and (2) “after giving both parties an opportunity to argue for whatever

      sentence they deem appropriate, the district judge should then consider all of the §3553(a)

      factors to determine whether they support the sentence requested by a party.” Id. at 49-50.

The Court “may not presume that the Guideline range is reasonable.” Id. at 50. Rather, the

Court must make an “individualized assessment based on the facts presented.” Id.



      III. Guideline Calculations

      The probation officer has made the following calculations in this case:

      Base offense level §2B1.1 (a)(1)           7
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   Loss                                       16

   Role in the Offense                          4

   Acceptance of responsibility               -3

   Total adjusted offense level               26

   Criminal History Category           I

   Advisory Guideline Range            63-78 months prison

The defense does not agree with those calculations.



III.    §3553(a) Factors

(a)(1) History and Characteristics of the Defendant and Nature and Circumstances of the
Offense

       Mr. Brooks was raised in a strong and caring family. For several years leading up to this

case, his mother was living and working for the government, in Afghanistan. The family

remains committed to Mr. Brooks and his children (the youngest was born during his

incarceration), and they will be there for him when he is released from prison. The family has

made a point of learning more about substance abuse as a result of this case, which strongly

suggests that they are prepared to do everything they can to support him.

       Mr. Brooks has only one previous non-traffic related brush with the law, and it supports

the likelihood that the instant case is related to his substance abuse and a diagnosed anxiety

disorder. Shortly before the start of the conspiracy in this case, he pled guilty to an offense

related to obtaining narcotics. The instant conspiracy began soon afterwards.




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(a)(2) Seriousness of Offense, Just Punishment, Adequate Deterrence, Protection of the
Public, Treatment

       The Court must consider many factors, including deterrence. Many within the criminal

justice system have begun to recognize that the most effective method of promoting deterrence

and curbing recidivism is not through imprisonment, but through changing an offender's outlook

and perception of life, and equipping him or her with the tools needed to thrive in a disciplined

community. See, What Works? General Principles, Characteristics, and Examples of Effective

Programs, Ohio Department of Rehabilitation and Correction, Office of Policy and Offender

Reentry, 20101 ("There is no evidence that incarceration deters subsequent criminal behavior");

18 U.S.C. §3582(a) ("[I]mprisonment is not an appropriate means of promoting correction and

rehabilitation"). As a result of recognizing the importance of changing the offender’s perceptions

and providing necessary life tools, many courts have started implementing non-incarceration

alternatives. By employing a combination of punitive sanctions and treatment services, courts

have seen remarkable results in reducing recidivism, especially in high risk offenders. What

Works? General Principles, Characteristics, and Examples of Effective Programs, Ohio

Department of Rehabilitation and Correction, Office of Policy and Offender Reentry, 2010.


       There is no question that the 13 participants in this case caused a substantial loss.

Although the period of pretrial incarceration has given Mr. Brooks the opportunity to quit taking

drugs, he will come out of his incarceration owing a substantial amount of restitution. The

defense submits that the need to pay restitution, while supporting his child, is a more pressing

need than the need for a substantial prison sentence. The Court has alternatives to imposing a

lengthy prison sentence. Certainly, restitution is important. But helping Mr. Brooks in his

journey to sober living is at least equally important.
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(a)(3)(4)(5) Available Sentences, Sentencing Range, Pertinent Policy Statements

       Although a period of incarceration was always expected, as calculated by the probation

department the projected period of incarceration is vastly higher than what was anticipated when

Mr. Brooks signed and entered his guilty plea. Mr. Brooks has a drug problem, but he is far

from “unsalvageable.” He has a supportive family, several children to whom he is devoted, and

since being in jail he has emerged from his own denial. Now is the time for treatment and

support.

       The Court should impose a lesser prison term, consistent with the guidelines calculations

agreed to in the Plea Agreement.

       DATED this 12th day of May, 2018.


                                                    Respectfully submitted,

                                                    DEBORAH L. WILLIAMS
                                                    FEDERAL PUBLIC DEFENDER



                                                       /s/ Deborah L. Williams
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                               CERTIFICATE OF SERVICE


       I hereby certify that a true and accurate copy of the foregoing was electronically served

upon Jonathan Grey, Assistant United States Attorney, Office of the United States Attorney, 303

Marconi Blvd., Suite 200, Columbus, Ohio 43215 this 12th day of May, 2018.



                                                      /s/ Deborah L. Williams
                                                   Deborah L. Williams (AZ 010537)
                                                   Federal Public Defender

                                                   Attorney for Defendant
                                                   Za Darrick Jerome Brooks




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